         Case 3:18-cv-06830-RS Document 131-6 Filed 04/28/21 Page 1 of 5

                           The Fillmore Entertainment Complex, LLC
                             The African American Heritage Center
        (Yoshi's Jazz Club) 1300-1330 Fillmore Street I San Francisco I California 94115




August 28, 2015



The Honorable Board of Supervisors President London Breed
City Hall, Room 200
1 Dr. Carlton B. Goodlett Place
San Francisco, California 94102

Dear President Breed,

SUBJECT: Fillmore Jazz Heritage Center Interim Facilities Management Proposal

As you know, in February 2015 I submitted a redevelopment plan and proposal for the real estate
acquisition of the Fillmore Center commercial complex at 1300-1330 Fillmore Street, including
the Old Yoshi's Jazz Club and Restaurant. This was accompanied by a bank verification of funds
and a signed letter of intent to purchase the facility from the previous owner.

This would have created a successful venture in our concerned community. It is unfortunate that
this opportunity did not come to fruition. I still intend to submit a real estate acquisition offer
when the City is ready to issue an RFP. I am submitting the attached facilities management plan
for you and your team's consideration for the immediate use of the facility.

I believe that for any sustainable business to occupy this facility it will take a minimum of one
year (12 months) to two years to complete remodeling, tenant improvements, reconfiguration of
space and the re branding of the venues. It therefore would be important to design an interim
venue operation plan with a long-term consideration.

Attach are the specifics of the management plan. I would appreciate your consideration and the
time to discuss this matter in detail with you.


Sincerely,

Agonafer Shiferaw
Managing Director




                              Telephone Number: 415-290-5299                                          1
                                   Email: Agonafer@att.net
       Case 3:18-cv-06830-RS Document 131-6 Filed 04/28/21 Page 2 of 5

                         The Fillmore Entertainment Complex, LLC
                           The African American Heritage Center
      (Yoshi's Jazz Club) 1300-1330 Fillmore Street I San Francisco I California 94115
Cc:


      Mara Rosales, Chair
      San Francisco Redevelopment Agency Successor Agency the Office of Community
      Investment and Infrastructure Commission.

      Tiffany Bohee: Executive Director
      San Francisco Redevelopment Agency Successor Agency the Office of Community
      Investment and Infrastructure Commission.

      Joaquin Torres
      Office of Economic and Workforce Development




                          Telephone Number: 415-290-5299                                 2
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         Case 3:18-cv-06830-RS Document 131-6 Filed 04/28/21 Page 3 of 5




                        Fillmore Entertainment Complex, LLC

            1300-1330 Fillmore Street, San Francisco, California 94115
                             Interim Facilities Management Logistics

    •   Facility management and use-venue rentals

    •   Music, art, drama and cultural production

    •   Promotion and marketing and special events

    •   Security and Safety Management

    •   Nationwide permanent anchor tenant search

   •    Super Bowl February 2016 unofficial host oflive music, parties and events.

   •    February 2016 Black History Month on Fillmore Street.

Introduction

The Fillmore Entertainment Complex, LLC is submitting an interim facilities and management
proposal for the fast and immediate use of the 1330 Fillmore, the Jazz heritage Center to create
business activities and energize the Fillmore corridor entertainment seen.

The Fillmore Entertainment Complex LLC submitted a redevelopment plan and proposal for the
real estate acquisition of the Fillmore Center commercial complex at 1300-1330 Fillmore Street,
including the Old Yoshi's Jazz Club and Restaurant, in February 2015.

When the City of San Francisco is ready to issue an RFP for the permanent disposition of the
property we are prepared to resubmit a competitive plan that is financially viable, sustainable,
programmatically eclectic and culturally relevant, and that would generate local customers and
tourist traffic into the Fillmore corridor while achieving the critical mass essential for a
successful entertainment destination block.

The Fillmore Entertainment Complex LLC is in discussion with major international venue
operators like the Blue Note of New York and the successful restaurant operators of the Red
Rooster located in Harlem, New York and community/worker owned bakery outlets such as
Arizmendi Bakery.

From our assessment and input of the last two community meetings, it is clear that the
community wishes to ensure that the commercial space at Fillmore Heritage Center continues to
be owned by a community inspired investment group that guarantees continuation of culturally



                                                                                       Page 1 of3
          Case 3:18-cv-06830-RS Document 131-6 Filed 04/28/21 Page 4 of 5




relevant programming and use. Furthermore this opportunity will help to build the economic
capital and capacity of a historically disadvantaged community.

The interim facilities management proposal is based on certain pragmatic assertions:

    •   We believe that for any sustainable business to occupy this facility it will take at least a
        minimum of one year (12 months) to two years to complete remodeling, tenant
        improvements, reconfiguration of space and the rebranding of the venues.

    •   We believe that within one year's time the community inspired legacy investors who
        showed interest and are capable of investing to preserve the Fillmore Heritage Center will
        be encouraged to participate in the ownership of the real estate and/or the various
        business opportunities that the facility could accommodate.

This effort of collective ownership and responsibility of this historic facility is consistent with
Mayor Ed Lee's goal of curbing the out-migration of.San Francisco's Black business
community.

In addition the City of San Francisco will transfer, as soon as possible, the responsibility for
managing a cultural institution to The Fillmore Entertainment Complex, LLC, a community
group that takes pride in preserving its legacy.

   •    Interim programming and management would provide an immediate reuse of the venue.
        Special programming will include special holiday events, community inspired activities,
        weekend performance concerts by independent producers, rental of the venue for special
        events, "own a bar for the weekend" or "chef of the month" initiatives.

   •    The revenue generated from the rental of the facility would offset, at a minimum , the
        costs paid by the City of San Francisco general fund to pay for utilities, insurance,
        maintenance and parking management.

                                      Organization and Staffing

                              Position                                Compensation
          Facilities General Manager                                       Paid Position
          Administrative Secretary                                         Paid Position
          Promotion, marketing Venue Rental Coordinator                    Paid Position
          Janitorial/ Maintenance Staff                                    Paid Position
          Security Personnel Service                                   Budgeted Position
          Community Engagement                                        Volunteer/ Unpaid
          Independent Promoters                                       Volunteer I Unpaid
          Art Promotion                                               Volunteer/ Unpaid
          Jazz Heritage &Local Musician Promoters                     Volunteer I Unpaid



                                                                                          Page 2 of3
            Case 3:18-cv-06830-RS Document 131-6 Filed 04/28/21 Page 5 of 5




A complete budget and financial plan will be determined once the current permanent fixed costs
and operating costs of the facility are know.

                                 SF BLACK FILM FESTIVAL HOME

                                 Management of the Screening Room

        •    The Fillmore Media Group

        •    Special Theatre

        •    Drama

       •     lndependentMovies

Professional orientation and training from media school and media personalities will be provided
to assist the members of the Fillmore Media Group to sharpen their skills and professionalism in
community media technology and service. Interim and long range funding will be obtained from
the Hotel Tax Fund, The Mayor's Office of Workforce Development and other private sources.

The Fillmore Entertainment Complex, LLC is proposing a conceptual interim management idea
to open discussion with the City of San Francisco. If the agreement is reached, the Fillmore
Entertainment Complex, LLC is projecting to begin operations for the Holiday season beginning
November 2015. The facility opening will coincide with a New Year Celebration Gala of Unity
and Diversity.

                                        Managing Director

                                        Agonafer Shiferaw

Experience and Qualifications

•   Over 30 years of entertainment, club, restaurant and retail business management and
    ownership.

•   Owned and managed commercial and residential income property in San Francisco and
    Oakland.

•   Owned and operated Rasselas Jazz Club and Restaurant on California Street and separately
    Rasselas Jazz Club and Restaurant on the Fillmore Merchant Corridor.

•   Knowledgeable of community/business development structure (CBD)

•   Active in the community engagement of the Western Addition and the Fillmore



                                                                                     Page 3 of3
